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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

CRAIG CUNNINGHAM,                  )
                                   )
      Plaintiff,                   )
                                   )   CIVIL ACTION NO. 3:16-cv-01675
v.                                 )
                                   )   JUDGE TERRENCE G. BERG
ENHANCED RECOVERY                  )
                                   )   MAGISTRATE JUDGE ALISTAIR NEWBERN
COMPANY, LLC
                                   )
      Defendant.                   )
______________________________________________________________________________

                          JOINT STIPULATION OF DISMISSAL
_____________________________________________________________________________________________

       The parties, by and through pro se Plaintiff and undersigned counsel, state that they have

settled all claims asserted in this action by and between the parties. Accordingly, the parties

hereby stipulate pursuant to Fed. R. Civ. P. 41(a)(1) that all claims asserted in this action are

hereby dismissed with prejudice.




                           [Signatures appear on the following page.]




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SUBMITTED FOR ENTRY BY:



 /s/ Craig Cunningham
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Pro Se Plaintiff




DICKINSON WRIGHT PLLC

By:     _s/Joshua L. Burgener______
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